               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                       CRIMINAL CASE NO. 2:06cr10


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                        ORDER
                          )
                          )
ALBERTO ALEMAN.           )
                          )

      THIS MATTER is before the Court1 on the Defendant’s letter filed on

March 15, 2012, which the Court construes as a motion to modify the

restitution payments that he is required to make through the Inmate Financial

Responsibility Program (IFRP). [Doc. 96].

      In his letter, the Defendant contends that the Judgment requires that he

pay monthly installments toward his restitution obligation only after his release

from imprisonment. Contrary to the Defendant’s contention, however, the

Judgment provides that the Defendant’s payment of restitution is to “begin

immediately.” [Judgment, Doc. 60 at 5]. The Bureau of Prisons therefore has

the authority to place a defendant in the IFRP based on the wording contained


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       The Defendant addresses his letter to the Honorable Lacy Thornburg, who
sentenced the Defendant in 2007. Judge Thornburg, however, has since retired from
the bench, and this case has been reassigned to the undersigned.


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in the Judgment. See United States v. Watkins, 161 F. App’x 337, 337 (4th

Cir. 2006); Bramson v. Winn, 136 F. App’x 380, 381 (1st Cir. 2005).

      To the extent that the Defendant objects to the amount of funds that he

is required to pay under the IFRP, the Court is without jurisdiction to consider

his claim. Before seeking relief from any court regarding obligations under the

IFRP, a defendant must exhaust all administrative remedies through the

Bureau of Prisons. McGhee v. Clark, 166 F.3d 884, 887 (7th Cir. 1999).

Once all administrative remedies have been exhausted, a defendant may

challenge such payments only by filing the appropriate pleading in the district

court located in the district of confinement, not the sentencing court. See

Moore v. Olson, 368 F.3d 757, 759 (7th Cir. 2004); Matheny v. Morrison, 307

F.3d 709, 711-12 (8th Cir. 2002).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to modify

the restitution payments that he is required to make through the IFRP [Doc.

96] is DENIED.

      IT IS SO ORDERED.
                                       Signed: April 3, 2012




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